      Case 1:21-cr-00119-SHR Document 151 Filed 04/11/24 Page 1 of 25




             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                   :     Criminal No. 1:21-CR-119
                                           :
                  v.                       :     (Judge Rambo)
                                           :
JAMES PATTERSON                            :
    Defendant                              :     Electronically Filed


                       PRAECIPE TO ATTACH EXHIBITS

     Kindly docket the attached Exhibit 1 and Exhibit 4 to Defendant’s

Sentencing Memorandum, which was filed electronically on March 19, 2024.



                                           Respectfully Submitted:

                                           GIBBEL KRAYBILL & HESS, LLP

Date: 4.11.2024                     By:    __/s/ Jason Asbell____________
                                           Jason Asbell
                                           Atty. I.D. No. 304884
                                           2933 Lititz Pike
                                           PO Box 5349
                                           Lancaster, PA 17606
                                           (717) 291-1700




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Case 1:21-cr-00119-SHR Document 151 Filed 04/11/24 Page 2 of 25




           EXHIBIT 1
                         Case 1:21-cr-00119-SHR Document 151 Filed 04/11/24 Page 3 of 25


                                                     Dauphin County Court of Common Pleas
                                                                Court Summary



Patterson, James                                                     DOB:03/0611991                           Sex: Male
Middletown, PA 17057                                                                                          Eyes: Brown
Aliasesr                                                                                                      Hair Black
James K. Patterson                                                                                            Race: Black
Janres Keith Pattorson
James Keith Patlerson Jr.
James Patterson
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             3              35 S 780-113 $S A30                          F      Manufacture. Delivery, or Possession
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              5             185903                                       F      Conspiracy - Manufacture, Delivery,
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                                                              Dauphin County Court of
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                      Case 1:21-cr-00119-SHR Document 151 Filed 04/11/24 Page 5 of 25


                                               Dauphin County Court of Common Pleas
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          I            75 S 3361                               S      Dnving at Safe Speed                           Withdrawn
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          3            18$s126S$A                             F3 Flight To Avoid Appreh/Trial/Punish Withdrawn
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                         Case 1:21-cr-00119-SHR Document 151 Filed 04/11/24 Page 6 of 25


                                                        Dauphin County Court of Common pleas


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Case 1:21-cr-00119-SHR Document 151 Filed 04/11/24 Page 7 of 25




           EXHIBIT 4
            Case 1:21-cr-00119-SHR Document 151 Filed 04/11/24 Page 8 of 25




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Dauphin County cut power to men in jail’s
‘hole’ for 2 weeks: ‘Darkness creates
depression’
Updated: Mar. 13, 2024, 5:36 a.m. | Published: Mar. 13, 2024, 5:09 a.m.
              Case 1:21-cr-00119-SHR Document 151 Filed 04/11/24 Page 9 of 25




Tour of the Dauphin County Prison in May 2015. Mark Pynes | mpynes@pennlive.com




   By Joshua Vaughn | jvaughn@pennlive.com


   The lights went out for men living on two segregation blocks in the basement of Dauphin
   County Prison late last year, and stayed off more than two weeks, PennLive has learned

   That left them in the dark for at least 14 hours each day.

   On top of this, men on the block were stripped down to just a T-shirt and underwear,
   according to two people incarcerated there. Their personal belongings were taken out of
   the cell, including tablets, writing materials and legal paperwork, some of which represent
   protected communications between the incarcerated men and their attorneys.

                                               Advertisement
         Case 1:21-cr-00119-SHR Document 151 Filed 04/11/24 Page 10 of 25




Without tablets, the men had no access to religious texts, the law library or any incoming
mail that their loved ones sent, because mail goes to a processing area off site and its
contents are uploaded to the tablets.

Jail employees confirmed to PennLive, on the condition of anonymity, that power was cut
off, cells were stripped, including of legal work, and the orders to do so came from
command staff.

This went on for 17 days in November, according to Kani Little and Taji Abdulah, who
remain locked up in Dauphin County.

County officials admitted the power was cut and said it was because incarcerated people
were misusing electrical outlets to smoke, but advocates contend the action was
unconstitutional.

It’s unclear how many men were affected by the blackout as county officials won’t reveal
the number of people they put in segregation, also known as “the hole,” where certain
people are sent for additional punishment.

“Power was cut off purposefully to certain cells because inmates were tampering with the
electrical outlets to smoke, which obviously presents a serious fire hazard to inmates, staff
and the entire facility, while also presenting other dangers to those inside the facility,”
said county spokesperson Diane McNaughton, in a statement provided last week. She
refused to answer questions about taking the men’s clothes and belongings, citing an “on-
going criminal investigation.”

                                         Advertisement
          Case 1:21-cr-00119-SHR Document 151 Filed 04/11/24 Page 11 of 25




The county’s excuse for cutting the power was rebuffed by advocates.

“Solitary confinement without electricity and lights for more than two weeks is torture,”
said Bret Grote, legal director of the Abolitionist Law Center. “It is illegal and indefensible,
no matter the pretext.”

As with most potential violations of civil rights behind bars, the affected people have little
recourse except to file a lawsuit, which can be costly and time consuming.

The hole is where incarcerated people accused of prison violations are taken. Advocates
often refer to these kinds of units as a jail within a jail.

When PennLive started asking questions about the blackout in January, county officials
scrambled behind the scenes to figure out what to say and how to avoid admitting the jail
has a problem keeping illegal drugs out, according to emails obtained by PennLive
through a Right-to-Know request.

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        Case
In an email    1:21-cr-00119-SHR
            exchange                Document
                      between the county     151 Filedand
                                         spokeswoman   04/11/24 Page 12county
                                                          newly elected of 25
commissioner Justin Douglas from January, McNaughton said PennLive often inquires
about “rumors” from inmates.

She went on to say that the county had not answered questions about the power being cut
off as “punishment” but said “we have been reassured by the warden that this is not the
case.”

McNaughton told PennLive that the incident was under investigation and the county
would not provide a comment in January. It was not until March that she admitted the
power was cut off.

                                         Advertisement




Other emails showed Warden Gregory Briggs wanted to find out which inmates might be
talking to PennLive and what they were saying.

He sought the names of individuals visited by the Pennsylvania Prison Society, believing
that could indicate who was talking, reviewed calls between PennLive and incarcerated
people, and asked to hide details about problems with drugs inside the jail.

“It’s really disturbing that a warden of a jail in crisis, where people are dying and where
there is pervasive lawlessness, is investing the time of his staff in controlling the message
and outflow of information rather than dealing with the very serious problems,” said
Claire Shubik-Richards, executive director of the Pennsylvania Prison Society. “It’s really
disturbing that he’s diverting staff energy away from dealing with the lawlessness and
violence in his facility and is preoccupied with preventing the truth from getting to the
public.”
         Case 1:21-cr-00119-SHR Document 151 Filed 04/11/24 Page 13 of 25




 An email from Warden Gregory Briggs asking for the names of all the people visited by a Prison Society
 volunteer and the recordings of all calls between incarcerated people and PennLive. Open Records
 Request


                                              Advertisement




‘We had to eat in the dark’

The men who languished in the basement in November said the darkness exacerbated
existing problems in the jail.

“Darkness creates depression,” said Kani Little. “When you don’t really have that light, I
was very depressed, very stressed.”

The hole is located in the basement where only a small amount of light comes in through
the windows during the day. It becomes pitch black once the sun goes down.

“We had to eat in the dark,” said Abdulah. “We went to the bathroom in the dark.”
        Case and
Both Abdulah 1:21-cr-00119-SHR      Document
                 Little said it was difficult to 151
                                                 tell ifFiled
                                                        they 04/11/24
                                                              were givenPage  14 of 25
                                                                         the proper
medications and said the darkness made it difficult to tell if bugs or rodents, which are a
frequent complaint of incarcerated people, got into their food or beds.

                                          Advertisement




An inspection by the Pennsylvania Department of Corrections in May 2023 found a
cockroach infestation in the jail’s kitchen.

“During a physical inspection of the kitchen area the Inspectors observed numerous
(excess of 10) deceased cockroaches on the floor, primarily in the tray washing machine
area,” the report reads, noting the generally unsanitary conditions of the kitchen.

After being stripped of most of his clothing, Abdulah said: “I was freezing down there but
I just had to put up with it. I just had to wrap up in my blanket and I just had to put up
with it.”

Little said that he begged corrections officers to turn the lights back on, but he said he was
told they couldn’t because the orders came from senior command staff.

Drug use rampant

Around the same time officials shut the power off in the hole, the county asked the U.S.
Marshals to send fewer detainees to help address drug use in jail.

                                          Advertisement
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PennLive asked why the number of detainees dropped by about a third and was told it
was to “address special housing” needs.

But that wasn’t the whole story.

In a Jan. 25 email, Deputy Warden Lionel Pierre said the space was needed to “address the
smoking issue that was making staff and inmates sick.”

In response, Briggs wrote: “I don’t think I want (PennLive’s reporter) Vaughn to have
that.”

Then Briggs asked his deputy warden to come up with a response blaming the lower
number of detainees on staffing shortages.

“Wordsmith a supply and demand?” Briggs wrote in the email. “We don’t have the supply
of staff so we are trying to reduce the demand on them?”
         Case 1:21-cr-00119-SHR Document 151 Filed 04/11/24 Page 16 of 25




An email exchange between Warden Gregory Briggs and Deputy Warden Lionel Pierre shows Briggs told
Pierre to avoid telling PennLive that drugs were an issue inside the jail leading to a reduction in federal
detainees. submitted


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          Case
The official    1:21-cr-00119-SHR
             response               Document
                      provided to PennLive    151county
                                           by the  Filed 04/11/24 Page 17ofofdrug
                                                         made no mention      25 use for
the reduction of federal detainees.

The federal government pays Dauphin County $105 per day per detainee. A reduction of
30 people, which is about what the county asked for, equates to about $95,000 less being
paid to the county each month.

The blackout and detainee reduction doesn’t appear to have stamped out drug use behind
bars.

Drug use inside the jail remains rampant, according to incarcerated men and women and
staff who spoke with PennLive.

On Dec. 19, an officer called 911 to report what was believed to be a drug overdose.
During that call, the officer told dispatchers that it was believed the man had smoked K2,
also known as spice or synthetic marijuana.

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The officer told dispatchers, “they smoke on the block all day,” according to 911 dispatch
records obtained by PennLive.

It’s unclear exactly how illegal drugs get into the prison, but Dauphin County does not
allow any in-person contact visits with inmates. A clear glass wall separates incarcerated
people from visitors, and they have to speak to each other on two-way telephones.

The county has paid telecommunications firm ViaPath roughly $50,000 a year since 2021 to
process and scan mail so no physical mail enters the facility. Legal mail is sent to the jail
but incarcerated people receive the mail, copy it and then shred the originals under the
supervision of staff.

The mail policies were designed to cut down on drugs infiltrating the jail.
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Around the same time, the county instituted a policy where staff are supposed to be
required to place any items they are bringing into the jail in a clear bag. At the time,
officials said they saw a “noticeable drop” in illegal substances making it behind the walls.

A review of 911 dispatch data by PennLive, however, found the number of calls for
suspected overdoses has increased significantly since the mail policies were put into place.
There were more than twice as many calls for suspected overdoses at the jail in 2022 and
2023 compared with the two years prior.

The jail does not track how often drugs are confiscated, and McNaughton did not respond
to questions about how the jail was trying to reduce drugs from coming into the jail.

“It is common knowledge that the vast majority of drug contraband that enters jails and
prisons is brought in by staff,” Grote said. “If jail officials want to get serious about the
harms of illicit drug use they will work with community groups to decarcerate the jail and
invest in treatment facilities, housing and economic opportunities.”

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        Case is
Decarceration 1:21-cr-00119-SHR     Document
                an effort to reduce the number151  Filed 04/11/24
                                               of people            Page
                                                         incarcerated.   19 of 25
                                                                       Dauphin  County,
like many prisons, are populated disproportionately with people of color.

“The drug war has been used for far too long to provide a fig leaf for racist state violence,”
Grote said, “and its use in this instance is no different.”


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      I, M. Jason Asbell, Esquire, do hereby certify that I served a copy of the

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